Case 2:12-cv-06228-LDW-AKT Document 6 Filed 01/22/13 Page 1 of 3 PageID #: 21
  Case 2:12-cv-06228-LDW-AKT Document 5 Filed 01/08/13 Page 1 of 3 PageiD #: 18



                                                                              Flb~D
  UNITED STATES DISTRICT COURT                                          IN CLERK'S Ol"l'lci
                                                                    US DIS;">'iCI COURT E.D N y
  EASTERN DISTRICT OF NEW YORK


  SHERRILEE O'NEY,
                                                                     *      JAN 2 2 2013
                                                                     LONG ISLAND OFFICE
                                                                                               *
                          Plaintiff,

                   -against-                            NOTICE OF SETTLEMENT

  ENHANCED RECOVERY COMPANY, LLC,                       Case No. 2:12-cv-06228-LDW-AKT

                          Defendant.


                                       NOTICE OF SETTLEMENT

          NOW COMES Plaintiff, SHERRILEE O'NEY ("Plaintiff'), by and through the

  undersigned counsel, and hereby informs the Court that a settlement of the present matter has

  been reached and all parties to the present matter are currently in the process of executing the

  aforementioned settlement agreement, which Plaintiff anticipates will be completed within the

  next 60 days.

          Plaintiff therefore requests that this Honorable Court vacate all dates currently set on

  calendar for the present matter, including the Initial Conference scheduled on February 25, 2012

  at I 0:00 a.m.




                                        NOTICE OF SETTLEMENT
Case 2:12-cv-06228-LDW-AKT Document 6 Filed 01/22/13 Page 2 of 3 PageID #: 22
  Case 2:12-cv-06228-LDW-AKT Document 5 Filed 01/08/13 Page 2 of 3 PageiD #: 19



  DATED: January 8, 2013                RESPECTFULLY SUBMITTED,

                                        KROHN & MOSS, LTD.


                                   By: Is/ Adam T. Hill

                                        Adam T. Hill
                                        KROHN & MOSS, LTD.
                                        10 N. Dearborn St., 3rd Fl.
                                        Chicago, Illinois 60602
                                        Telephone: 312-578-9428
                                        Telefax: 866-802-0021
                                        ahill@consumerlawcenter.com
                                        Attorneys for Plaintiff




           /s/ Leonard D. Wexler




                              NOTICE OF SETTLEMENT                           2
Case 2:12-cv-06228-LDW-AKT Document 6 Filed 01/22/13 Page 3 of 3 PageID #: 23
  Case 2:12-cv-06228-LDW-AKT Document 5 Filed 01/08/13 Page 3 of 3 PageiD #: 20




                                  CERTIFICATE OF SERVICE

         I hereby certifY that on January 8, 2013, I electronically filed the foregoing Notice of

  Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

  emailed and mailed to defendant at the below address.

         Ginny L. Rodriguez
         Enhanced Recovery Company, LLC
         8014 Bayberry Rd.
         Jacksonville, FL 32256
         grodriguez@erccollections.com




                                                      By: /s/ Adam T. Hill
                                                      Adam T. Hill
                                                      KROHN & MOSS, LTD.
                                                      I 0 N. Dearborn St., 3rd Fl.
                                                      Chicago, Illinois 60602
                                                      Telephone: 312-578-9428
                                                      Telefax: 866-802-0021
                                                      ahill@consumerlawcenter.com
                                                      Attorneys for Plaintiff




                                    NOTICE OF SETTLEMENT                                            3
